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Paul B. Nesbitt, Esq. (SBN 064432)
paul@nesbittlawllp.com

Todd A. Nesbitt, Esq. (SBN 245295)
todd@nesbittlawllp.com

NESBITT & NESBITT, LLP

9171 Wilshire Boulevard, Suite 400
Beverly Hills, California 90210-5516
Phone: (310) 777-0448
Facsimile: (310) 777-0441

Lauren J. Harrison, Esq.
lharrison@joneswalker.com
Daniel H. Purdie, Esq.
dpurdie@joneswalker.com

CARRERE & DENEGRE, L.L.P.
First City Tower, Suite 2450

1001 Fannin Street

Houston, Texas 77002

Phone: (713) 437-1800
Facsimile: (713) 437-1810

Chris Moujaes

SMITH GLOBAL MANAGEMENT, INC.,

Plaintiff,
VS.

GEN FUKUNAGA, FUNIMATION
PRODUCTIONS, LTD, d/b/a/
FUNIMATION ENTERTAINMENT,
FUNIMATION ENTERTAINMENT, INC.
FUN MUSIC PROJECT, LLC and CHRIS
MOUSJAES, and DOES: | THROUGH 25

Defendants.

 

 

 

{HD042749.1} Notice of Removal -

Case 2:12-cv-10935-CAS-PJW Document1 Filed 12/26/12 Page1of17 Page ID #:19

JONES, WALKER, WAECHTER, POITEVENT,

Attorneys for Defendants FUNimation Productions, Ltd.
d/b/a FUNIMATION Entertainment, Gen Fukunaga and

IN THE UNITED STATES DISTRICT COURT

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CASE NUMBER: ___

NOTICE OF REMOVAL

 
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Case 2:12-cv-10935-CAS-PJW Document1 Filed 12/26/12 Page 2of17 Page ID #:20

Defendants Gen Fukunaga, FUNimation Productions, Ltd. (“FUNimation”),
and Chris Moujaes (“Defendants”), in the above-styled matter, file this Notice of
Removal, pursuant to the provisions of 28 U.S.C. §§1441 ef seg. and 1332 and
hereby remove this action from the Superior Court of California for the County of
Los Angeles, Central District to the United States District Court for the Central
District of California, Western Division. In support of this Notice of Removal,
Defendants submit as follows:

1.

On November 20, 2012, Smith Global Management, Inc. (“SGM”) filed a
complaint against Defendants, in the above-styled action then pending in the
Superior Court of California for the County of Los Angeles, Central District, in
Case No. BC496104. Defendants were served on November 26, 2012.

2.

Pursuant to 28 U.S.C. §§1332, 1441, and 1446, and without prejudice to any
defense that they may have to SGM’s action, Defendants file this Notice of
Removal based on diversity of citizenship.

3.

FUNimation Productions, Ltd. is a Texas Limited Partnership with its

principal place of business in Flower Mound, Texas and is a citizen of the State of

Texas.

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4.

Gen Fukunaga is a domicile and citizen of the State of Texas.
5.

Chris Moujaes is a domicile and citizen of the State of Texas.
6.

Only the three Defendants filing this Notice of Removal have been served
with process in this matter and are before the Court. These Defendants all have
Texas citizenship; the Plaintiff is a citizen of California. Complete diversity
therefore exists.

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‘FUNimation Entertainment, Inc.” is not a party before this Court.
“Funimation Entertainment” is a d/b/a of FUNimation Productions, Ltd. There is
no legal entity known as FUNimation Entertainment, Inc. It therefore has no

citizenship for diversity purposes.

Fun Music Project, LLC (“Fun Music”) also is not before this Court. Fun
Music was, or purported to be, a Delaware Limited Liability Company with its
business address at the offices of National Registered Agents, Inc., in Dover,
Delaware. Fun Music is not a corporation in good standing and has not been

served with process in this case. If Fun Music were to be served with process (and

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that is assuming that it is capable of being served), it would be a nominal defendant
such that its citizenship is not relevant for diversity purposes. The only claim
made against Fun Music is for Involuntary Dissolution under the Delaware Limited
Liability Company Act.! No damages are sought against Fun Music and Fun
Music has no interest in the outcome of the case. Because it would be a nominal
defendant if were ever served, Fun Music’s citizenship is not relevant. Prudential
Real Estate Affiliates, Inc. v. PPR Realty, Inc., 204 F.3d 867, 873 (9" Cir. 2000)
(holding that a nominal defendant’s citizenship is not relevant for purposes of
assessing diversity jurisdiction); see also Lincoln Prop. Co. v. Roche, 546 U.S. 81,
92-93 (2005) (providing that diversity jurisdiction is not affected if “a party was
named to satisfy state pleading rules, or was joined only as designated performer of
a ministerial act, or otherwise had no control of, impact on, or stake in the
controversy”); Navarro Sav. Ass'n v. Lee, 446 U.S. 458, 461 (1980) (“[A] federal
court must disregard nominal or formal parties and rest jurisdiction only upon the

citizenship of real parties to the controversy.”).

 

1 That claim is not cognizable in this Court or in any court outside of Delaware. An action to dissolve a Delaware
Limited Liability Company must be brought in the Court of Chancery in Delaware. 6 Del. C. § 18-802. Thus, if
either of the defendants named in that cause of action were before the Court, the Court would be bound to dismiss
the claim for lack of subject matter jurisdiction and/or venue.

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9.

The citizenship of defendants sued under fictitious names is not relevant for
diversity purposes. 28 U.S.C. §1441(b)(1). The citizenship of the Doe defendants
therefore is not relevant.

10.

Upon information and belief, SGM is a California Corporation with its

principal place of business in Los Angeles County, California.
11.

Based upon Plaintiff's Complaint and demands, the amount in controversy
exceeds the sum of $75,000, exclusive of interest and costs. Specifically,
Plaintiff's claims involve claims for fraud, breach of fiduciary duty, breach of
contract, breach of the implied covenant of good faith and fair dealing, and
involuntary dissolution. Plaintiff's complaint seeks compensatory damages alone
in an amount in excess of $500,000. See Plaintiff's Complaint at §[33, 38.
Accordingly, the required jurisdictional amount is present.

12.

All served and properly joined defendants have consented to this Notice of
Removal pursuant to 28 U.S.C. §1446(b)(2)(A). Unknown, nominal and
fraudulently joined parties are not required to join in removal. See United

Computer Sys., Inc. v. AT & T Corp., 298 F.3d 756 (9" Cir. 2002); Emrich v.

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Touche Ross & Co., 846 F.2d 1190 (9" Cir. 1988). Parties not served also are not
required to join in removal. Salveson v. Western States Bankcard Ass’n., 731 F.2d
1423, 1429 (9 Cir. 1984).

13,

Defendants were served with process on November 26, 2012. Thus, this
Notice of Removal is timely pursuant to 28 U.S.C. §1446(b)(1).

14.

All conditions and procedures for removal have been satisfied. A filing fee
is tendered herewith.

15.

Copies of the docket sheet and all pleadings, process, orders and other
filings in the state-court suit are attached as Exhibit A and incorporated by
reference to this notice, as required by 28 U.S.C. §1446(a).

16.

Venue is proper in this district under 28 U.S.C. §1441(a) because the state

court where the suit has been pending is located in this district.
17.

Pursuant to 28 U.S.C. §1446(d), promptly after the filing of this Notice of

Removal with this Court, Defendants will file a copy of the Notice of Removal

with the clerk of court for the Superior Court of California for the County of Los

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Angeles, Central District and will give prompt written notice to SGM as required
by 28 U.S.C. §1446(d).

WHEREFORE, Defendants remove this action to this Court.

DATED: December 21, 2012 NESBIT. & Ludi. Sf

By:
ZA B. Nesbitt, E:

Attorneys for Defendants
FUNimation

Productions, Ltd. d/b/a FUNimation
Entertainment, Gen Fukunaga and
Chris Moujaes

 

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GRODSKY & OLECKI LLP
Allen B. Grodsky (SBN 111064)
allen@grodsky-olecki.com

Zachary Rothenberg (SBN 215404) FILED
zachary@grodsky-olecki.com SUPERIOR CO

2001 Wilshire Boulevard, Suite 210 COUNTY OF LOSANGELES
Santa Monica, California 90403 . NOV 202012

Telephone: (310) 315-3009

Facsimile: (310) 315-1557 ool Meee one
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Attorneys for Plaintiff (byt Chapa Y

Smith Global Management, Inc:

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SUPERIOR COURT OF CALIFORNIA
COUNTY OF LOS ANGELES, CENTRAL DISTRICT

Case No. BC496104

SMITH GLOBAL MANAGEMENT, INC.,

Plaintiff,
COMPLAINT FOR FRAUD, BREACH
OF FIDUCIARY DUTY, BREACH OF
CONTRACT, BREACH OF THE
IMPLIED COVENANT OF GOOD
FAITH AND FAIR DEALING, AND
INVOLUNTARY DISSOLUTION

Vv.

GEN FUKUNAGA, FUNIMATION
PRODUCTIONS, LTD. d/b/a FUNIMATION
ENTERTAINMENT, FUNIMATION
ENTERTAINMENT, INC., FUN MUSIC
PROJECT, LLC, and CHRIS MOUJAES, and
DOES 1 through 25.

Defendants.

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Plaintiff Smith Global Management, Inc. (“SGM”), as and for its Complaint against
Defendants Gen Fukunaga (“Fukunaga”), FUNimation Productions, Ltd., d/b/a FUNimation
Entertainment (“FP”), FUNimation Entertainment, Inc. (“FEI”), Fun Music Project, LLC (“Fun

Music”), Chris Moujaes (“Moujaes”), and Does 1 through 25, allege as follows:

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the expansion of their existing brands and businesses. As part of its business, Sah has e
experience in the development and production of music albums as well as connegtians with

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artists in the music industry. FP and FEI (collectively, ' aaa Sa

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SGM to provide its expertise and to develop and produce music albums to be used on, and
released in connection with, FUNimation Entertainment's anime DVDs. But FUNimation
Entertainment did not want to pay fair value for SGM’s services. Instead, its
representatives, Fukunaga and Moujaes, made a series of false representations and

concealed critical facts to fraudulently induce SGM to enter into a contract which called for

 

the creation of a jointly-owned entity, Fun Music Project, to develop and produce these
albums. Once the contract was executed and FUNimation Entertainment was able to
obtain from SGM music for its DVDs and the skills and know-how needed to develop,
produce, market, and distribute music albums, FUNimation Entertainment stopped
complying with its obligations under the contract and, instead, used the information and
skills it learned from SGM to secretly began to develop and produce its own albums to be
sold in conjunction with the DVDs it distributed.

z. FUNimation Entertainment’s actions constitute fraud and deceit, breach of its
fiduciary duty, as weil as breach of contract and breach of the implied covenant of good
faith and fair dealing. As discussed in more detail below, SGM has been substantially
damaged by the conduct of FUNimation Entertainment, Fukunaga, and Moujaes, and

brings this suit to recover the damages incurred.

THE PARTIES
3. SGM is a California Corporation with its principal place of business in Los
Angeles County, California.
4. SGM is informed and believes, and thereon alleges, that FP is a Texas

Limited Partnership with its principal place of business in Flower Mound, Texas. SGM is
informed and believes, and thereon alleges, that FP operates under the fictitious business
name “FUNimation Entertainment.”

5. SGM is informed and believes, and thereon alleges, that FEI is an entity of
unknown origin with its principal place of business in Flower Mound, Texas.

6. SGM is informed and believes, and thereon alleges, that Fukunaga is a

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resident of Texas. SGM is further informed and believes, and thereon alleges, that
Fukunaga is an owner of and is owner, officer, director, and/or manager of FP and FEI.

7. SGM is informed and believes, and thereon alleges, that Moujaes is a resident
of the State of Texas. SGM is further informed and believes, and thereon alleges, that
Moujaés is an officer and/or employee of FP and FEI.

8. SGM is informed and believes, and thereon alleges that Fun Music Project is
a Delaware Corporation with its principal place of business in Los Angeles, California.

9, SGM is informed and believes, and thereon alleges that, at all times herein
mentioned, there exists, and at all times herein mentioned there existed, a unity of interest
and ownership between Fukunaga and FP, on the one hand, and FEI, on the other hand,
such that any individuality and separateness between Fukunaga and FP, on the one hand,
and FEI, on the other hand, has ceased, and Fukunaga and FP are the alter ego of FEI.
SGM is further informed and believes, and thereon alleges, that Fukunaga and FP
completely controlled, dominated, managed, and operated FEI to suit their convenience.

10. Further, SGM is informed and believes, and thereon alleges, that FEI is, now
and at all times herein mentioned was, a mere shell, instrumentality and conduit through
which Fukunaga and FP carried on their business exercising complete control and
dominance of such business to such an extent that any individuality or separateness of
Fukunaga and FP, on the one hand, and FEI, on the other hand, does not, and, at all times
herein mentioned, did not exist.

11. | The true names and capacities of the persons and entities named herein as
Does 1 through 25, whether individual, corporate, associate, or otherwise, are presently
unknown to SGM, who therefore sues these persons and entities by fictitious names. SGM
will seek leave to amend this Complaint to show the true names and capacities of these
Doe defendants when their identities have been ascertained or according to proof at trial.

12. | SGMis informed and believes, and based thereon alleges, that at all times
mentioned herein, each of the Defendants named herein, including these sued as Does 1

through 25, was the agent of each of the remaining Defendants, and in doing the things

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hereinafter alleged, was acting within the course and scope of such agency and with the

permission, consent of, and ratification by such Defendants.

GENERAL ALLEGATIONS

13. In or around February 2011, representatives of SGM were introduced to Gen
Fukunaga. FUNimation Entertainment was at that time in the business of distributing anime
DVDs. SGM and Fukunaga began to discuss whether SGM could use SGM’s expertise to
help expand the business of FUNimation Entertainment.

14. | In or around April or May 2011, SGM, on the one hand, and Fukunaga and
FUNimation Entertainment, on the other hand, began to discuss working together such that
SGM would use its expertise to develop music projects in connection with FUNimation
Entertainment's high profile anime titles.

15. During these discussions and the subsequent negotiations for a written
contract, Fukunaga represented on multiple occasions to both Craig Crossley and Harry
Smith of SGM that:

° FUNimation Entertainment had the right to distribute music in connection with

| numerous anime titles, including but not limited to, Mass Effect, Dragon Age,
Dragon Ball Z, One Piece, Fullmetal Alchemist, Witchblade, among others.
- FUNimation Entertainment had significant experience and capabilities with
respect to marketing and distribution of music and that FUNimation had the
ability to distribute music.
SGM is informed and believes, and thereon alleges, that Fukunaga made these
representations in his capacity as an owner and/or manager of FUNimation Entertainment.

16. SGM is informed and believes, and thereon alleges, that Fukunaga’s
representations were false. SGM is informed and believes, and thereon alleges, that:

° FUNimation Entertainment did not have the right to distribute music in

connection with Dragon Ball Z, One Piece, Fullmetal Alchemist, Witchblade,

or any of the anime titles other than (possibly) Mass Effect and Dragon Age,

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° FUNimation Entertainment did not have any, let alone significant, experience
or capabilities with respect to marketing and distribution of music and did not
have the ability to distribute music.

17. In actual and justifiable reliance on those representations, SGM agreed to
enter into a contract with FUNimation Entertainment, which was executed by the parties as
of September 14, 2011. The contract stated in the first paragraph that it was entered into
between SGM and “FUNimation Entertainment” (without any “inc.”). The title of the
contract, though, is called “Smith Global, Inc./FUNimation Entertainment, Inc. Term Sheet”
and the signature block (signed by Gen. Fukunaga) is for FUNimation Entertainment, Inc.
SGM is informed and believes, and thereon alleges, that there is no properly formed
corporation with the name FUNimation Entertainment, Inc. At no time did FUNimation
Enteratinment or its representatives tell SGM that FUNimation Entertainment, Inc. was not a
properly formed corporation.

18. The September 14, 2011 agreement (the “Agreement”) provided, in pertinent
part: |

° The parties were to create a new entity, jointly managed by SGM and
FUNimation Entertainment, for the sole purpose of producing a music album
and a select number of music videos, the songs of which would be based on
or inspired by FUNimation Entertainment anime properties. SGM was to own
40% of that company’s equity and FUNimation Entertainment was to receive
60% of that company’s equity.

e FUNimation was to provide funds in the amount of $905,625 as a budget to
fund production and marketing of the music album.

° FUNimation was to distribute the album (for which it would receive an
aggressive fee of 25% of gross receipts) and to provide a Marketing Plan and
a Distribution Plan.

° SGM was to manage the development, production, and post-production

process for the album and videos, and to provide input on marketing and

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distribution strategies, in exchange for which it was to receive 15% of the
budget of the album as a producer's fee. |

49. SGM is informed and believes, and thereon alleges, that FP, FEI, Fukunaga,

and Moujaes (collectively, the “FUNimation Defendants”) never intended for FUNimation
Entertainment to perform its obligations under the Agreement. To the contrary, SGM is
informed and believes, and thereon alleges that:

° The FUNimation Defendants never intended for FUNimation Entertainment to
fund the full $905,625;

° The FUNimation Defendants, knowing that FUNimation Entertainment did not
have the ability to distribute music, intended to have SGM show them how to
obtain music distribution.

° The FUNimation Defendants intended to have SGM use its contacts and skills
to find known artists who would provide music to be used on FUNimation
Entertainment DVDs.

. The FUNimation Defendants never intended to have FUNimation
Entertainment prepare a marketing or distribution plan because they were not
qualified or capable of doing so.

¢ The FUNImation Defendants also intended to have SGM teach them how to
produce and market music to release in connection with anime DVDs, and
how to legally structure deals with artists, labels, and publishers.

° Once the FUNimation Defendants learned how to produce and market music,
they intended to stop funding the project, and instead devote their time and
energy to producing and marketing music on their own and to cut SGM out of
the profits.

20. SGMrelied on these representations and concealment of material facts and,

would never have entered into the Agreement had it known the true facts misrepresented
and concealed by the FUNimation Defendants.

21. Onor about October 6, 2011, SGM, pursuant to the Agreement, caused to be

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formed a new Delaware Limited Liability Company called Fun Music Project, LLC ("Fun
Music”), with its principal place of business in Los Angeles County, California. Defendant
FP provided the initial funding for this entity.. SGM caused to be prepared an Operating
Agreement between SGM and FEI and provided that draft agreement to the FUNimation
Defendants. The FUNimation Defendants repeatedly delayed in providing comments on
that agreement and, again, did not tell SGM that FEI was not a properly formed corporation.

22. Following entry of the Agreement, Fukunaga and Moujaes, on behalf of FEI

and FP, continued to misrepresent that FUNimation Entertainment had the right to distribute
music in connection with top anime DVDs such as Dragon Ball Z, One Piece, Fullmetal
Alchemist, Witchblade, when FEI and FP had no such right. For example:

° During the “kick off meeting,” Fukunaga again insisted that SGM focus its
efforts on the top five anime titles, which included Dragon Ball Z, One Piece,
and Fullmetal Alchemist, but concealed that FUNimation Entertainment had
no right to distribute music in connection with those titles;

° Moujaes repeatedly pushed SGM to procure top artists for FUNimation
Entertainment's “A-List” DVD titles, which included Dragon Ball Z, One Piece,
Fullmetal Alchemist, and Witchblade. Again, Moujaes concealed from SGM
that FUNimation Entertainment had no right to distribute music in connection
with those titles;

° On December 3, 2011, Fukunaga, as President and CEO of FUNimation
Entertainment, sent a letter to Harry Smith of SGM in California formally
authorizing SGM “to procure music artists, producers, DJ’s and any other
professionals required . . . [in connection with] an album and select number of
music videos inspired by several of FUNimation’s internationally successful
anime titles.” The letter listed those titles as, among others, Dragon Ball Z,
One Piece, Fullmetal Alchemist, and Witchblade. In fact, at this time,
FUNimation Entertainment did not have the right to sell music in connection

with these titles.

Complaint

 

 
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23. In actual and justifiable reliance on Fukunaga’s misrepresentations, SGM
developed music for these titles and a release plan for the titles was approved. In addition,
SGM created a music division for Fun Music Project and, in so doing, formally laid out an
entire plan and program for creating and distributing music in connection with anime DVDs.
Between November 14, 2011 and July 1, 2012, Smith and Crossley of SGM invested
significant time on developing the business, three to four months of which consisted of
working full time on the album project. . This included finding distribution for the company,
given that FUNimation had no access to music distribution. SGM also located high profile
artists who would provide their music for use on FUNimation Entertainment's DVDs (with
the understanding that the same music would be released on music albums in which SGM
would share the profits). The reasonable value of services provided by SGM in connection
with the Agreement exceeds $350,000.

24. Had SGM known that the representations made by the FUNimation
Defendants were false and of the truth of the material facts concealed, it would not have
spent substantial amounts of time finding artists for DVD titles, producing music and
developing the overall business. Furthermore, had SGM known of the true facts it would
not have revealed to SGM its knowhow and other information relating to the development
and production of music albums.

20. | As of the date of this Complaint, FUNimation Entertainment has funded only
approximately $450,000 of the $905,625 it agreed to fund. FUNimation Entertainment has
failed to provide a marketing plan or a distribution plan and utterly failed to provide
distribution for the project. Moujaes has also announced that FUNimation Entertainment
did not wish to move forward with the project because a music company was “not a viable
business.”

26. Atthe same tine FUNimation Entertainment stopped funding the project and
told SGM that a music company was not a viable business, the FUNimation Defendants
used what they had learned from the work done by SGM to secretly produce their own

album to be distributed in connection with the DVD “Mass Effect: Paragon Lost.” The

Complaint

 

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Case O22 0-1 0939-CAS-PW Document 1. Filed 12/26/12 Pape 16 0f17 Page ID #:34
4 || album is scheduled to be released on November 29, 2012.
2
3 FIRST CAUSE OF ACTION
4 (Fraud and Fraudulent Concealment)
5 [Against All Defendants except Fun Music Project]
6 27. SGM realleges and incorporates by reference each and every allegation set
7 || forth in Paragraphs 1 through 26, inclusive as set forth herein.
8 28. SGMis informed and believes, and thereon alleges, that the alleged
9 || representations made by FP, FEI, Fukunaga, Moujaes, and Does 1 through 25 were false.

40 || SGM is informed and believes, and thereon alleges, that, at the time these Defendants

41 || made these representations, they knew them to be false.

12 29. SGM is informed and believes, and thereon alleges, that FP, FEI, Fukunaga,

43 || Moujaes, and Does 1 through 25 concealed the true facts (as described above) in order to

44 || further its plan of convincing SGM to enter into the contract and then provide substantial

45 || services under the Agreement which would show these Defendants how to produce and

46 || distribute music albums.

17 30. SGM is informed and believes, and thereon alleges, that these

48 || representations were made, and material facts were concealed, with the intention and for

49 || the purpose of inducing SGM to enter into the Agreement and to reveal to these

20 || Defendants SGM’s knowhow and information on developing, producing, marketing, and

21 || distributing music albums and music videos.

29 31. These defendants’ representations, and the concealed matters, were material
23 to SGM’s decision to enter into the Agreement. Had SGM known the actual facts, SGM
+24 || would not have entered into the Agreement and would not have revealed its knowhow or
28 other information on developing and producing music albums.

296 32. |SGM’s reliance on these Defendants’ representations was reasonable at the

27 time such representations occurred. Indeed, SGM is informed and believes, and thereon

"98 alleges, that these Defendants intended that SGM would act upon the non-disclosures by

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0.

 

 
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4 || entering into the Agreement.
2 33. Asaresult of these Defendants’ fraudulent misrepresentations and
3 || concealment, SGM suffered, and continues to suffer, damages. SGM is informed and
4 || believes, and thereon alleges, that the amount of such damage is in excess of $500,000.
5 34.  SGMis informed and believes, and thereon alleges, that these Defendants’
8 actions were undertaken with fraud, oppression, and malice. Punitive damages in an
7 || amount according to proof should therefore be awarded against these Defendants.
8
9 SECOND CAUSE OF ACTION
10 (For Breach of Fiduciary Duty)
11 (Against FP, FEI, Fukunaga, and Does 1 through 25)
12 35. SGMrealleges and incorporates by reference each and every allegation set
43 || forth in Paragraphs 1 through 27, inclusive as set forth herein.
14 36. As joint managers of Fun Music Project, FP, FEI, Fukunaga, and Does 1
45 || through 25 owed a fiduciary duty to SGM.
16 37. Based on the above-described conduct, FP, FEI, Fukunaga, and Does 1
17 || through 25 have breached their fiduciary duty.
18 38. Asa direct and proximate result of the above-described conduct, SGM has
49 || been damaged in an amount in excess of $500,000.
20 39. SGM is informed and believes, an thereon alleges, that these Defendants’
21 || actions were undertaken with fraud, oppression, and malice. Punitive damages in an
22 || amount according to proof should therefore be awarded against these Defendants.
we 23
ro 94 THIRD CAUSE OF ACTION
25 (For Breach of Contract)
(396 [Against FP, FEI, Fukunaga, and Does 1 through 25]
. 7 40. SGM realleges and incorporates by reference each and every allegation set
98 forth in Paragraphs 1 through 27, inclusive as set forth herein.
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